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                                                                                      January 12, 2024


VIA EMAIL

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                            Re:       Carroll v. Trump, 20 Civ. 7311 (LAK)

Dear Judge Kaplan:

        We write on behalf of Plaintiff E. Jean Carroll in opposition to Defendant Donald J.
Trump’s letter motion of today’s date to adjourn the trial scheduled to start in a matter of days. As
we informed Mr. Trump’s counsel earlier today, while we are very sorry for the Trumps’ loss, we
oppose a complete adjournment of trial at this time. Ms. Carroll and our other witnesses are
prepared to proceed as scheduled on Tuesday, a jury pool has been assembled, and substantial
security and other court preparations have been already made. 1 Any delay would be severely
prejudicial, particularly as Mr. Trump is near certain to assert scheduling conflicts again—
including in connection with the January 23 New Hampshire primary—all while continuing to
repeat on an almost daily basis his defamatory claims about Ms. Carroll.

        As we informed Mr. Trump’s counsel, however, should Mr. Trump choose to testify, and
should there be no other witnesses remaining on Thursday, January 18, we would not oppose a
continuance until the following Monday so that Mr. Trump could attend his mother-in-law’s
funeral and testify first thing Monday morning. In other words, rather than put off jury selection
and all other trial proceedings for a full week’s time, the Court should at most permit proceedings
to end early on Thursday (and, in all events, only if Mr. Trump in fact plans to testify). Mr. Trump,




1
 The Court may be aware that Justice Engoron recently denied a similar request by Mr. Trump to adjourn yesterday’s
closing arguments in the New York Attorney General’s case against Mr. Trump in light of his mother-in-law’s death.
In making that decision, Justice Engoron cited the challenges that arise when “court officers, court clerks,
administrators, security details, technical people, etc., [are required] to rearrange their schedules and plan for the day.”
ECF 256-1 at 3.
                                                                                                               2

of course, chose not to attend trial in Carroll II; he does not intend to attend every trial day here; 2
and he will be represented by a team of lawyers in Your Honor’s courtroom each and every day.

        Mr. Trump’s rejection of our accommodation arguably puts into doubt the stated reason
for his much broader adjournment request, as does the fact that after his mother-in-law’s passing
he announced a campaign event in New Hampshire for January 16—one of the trial days that Mr.
Trump now demands be adjourned. 3 But at this point, such requests are merely par for the course.
Mr. Trump moved for multiple adjournments in the weeks before trial in Carroll II, see Carroll
II, ECF 114 at 1 & n.1, and has filed four previous motions to stay the January 16 trial in this
action, see ECF 208; Carroll v. Trump, Nos. 23-1045, 23-1146 (2d. Cir.), ECF 60, 151, 158. As
Your Honor has observed, Mr. Trump’s “actions have been dilatory throughout the litigation” and
reflect “a strong desire to delay any opportunity plaintiff may have to present her case against
him.” Carroll v. Trump, No. 20 Civ. 7311, 2023 WL 4393067, at *12 (S.D.N.Y. July 5, 2023).

     Ms. Carroll has been litigating her claims against Donald Trump in this case since
November 8, 2019. There should be no further delay in Ms. Carroll getting her day in court. 4



                                                                               Respectfully submitted,



                                                                               Roberta A. Kaplan

cc:     Counsel of Record




2
  See Events, Donald J. Trump, https://www.donaldjtrump.com/events (last visited Jan. 12, 2024) (listing campaign
rally featuring Mr. Trump in New Hampshire at 5 pm on Tuesday, January 16).
3
  See Marc Fortier, Trump to Make 3 Campaign Stops in NH Next Week, NBC10 Boston (Jan. 10, 2024),
https://www.nbcboston.com/ news/local/trump-to-make-campaign-stop-in-nh-next-week/3242258/.
4
  In accordance with Your Honor’s Individual Rules, we would typically file an opposition to a motion to adjourn on
the public docket. Because Mr. Trump has filed his motion by email, we are responding in kind. We do not oppose
the public docketing of this letter.
